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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 4:10CR3009-2
                                              )
              V.                              )
                                              )
KATHRYN SNOOZY,                               )                     ORDER
                                              )
                     Defendant.               )
                                              )

       IT IS ORDERED that:

      (1)      Defendant Kathryn Snoozy’s motion to extend deadlines in order on sentencing
schedule (filing 24) is granted.

       (2)     Paragraph 6 of the order on sentencing schedule is amended by inserting May
12, 2010, in lieu of April 12, 2010. Paragraph 7 of the order on sentencing schedule is also
amended to provide that the Judge’s tentative findings are due May 19, 2010. Sentencing
remains scheduled for August 20, 2010, at 12:30 p.m.

       DATED this 25th day of March, 2010.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
